Case 1:20-cr-00048-HSO-RHWR Document 35-4 Filed OS/12LO Page Lol

SOUTHERN DISTRICT OF MISSISSIPO!

CRIMINAL CASE COVER SHEET av ARTHUR JOHNSTON ease
U.S. District Court
PLACE OF OFFENSE:
RELATED CASE INFORMATION: Laoag
CITY: SUPERSEDING INDICTMENT DOCKET # 1: AdUe p a 6 g- Hs0- ICG
SAME DEFENDANT NEW DEFENDANT
COUNTY: Harrison MAGISTRATE JUDGE CASE NUMBER _1:20mj533RHW 4-21-20°
R 20/ R 40 FROM DISTRICT OF
DEFENDANT INFORMATION:
JUVENILE: YEs X__ No
MATTER TO BE SEALED: YES X NO
NAME/ALIAS: DARRELL YOUNG
U.S. ATTORNEY INFORMATION:
AUSA Annette Williams BAR #9641
INTERPRETER: X NO YES LIST LANGUAGE AND/OR DIALECT:
LOCATION STATUS: ARREST DATE 4-21-20
X _ ALREADY IN FEDERAL CUSTODY AS OF 4-21-20
ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE
U.S.C. CITATIONS
TOTAL # OF COUNTS: 2 PETTY MISDEMEANOR 2 FELONY
(CLERK'S OFFICE USE ONLY) INDEX KEY/CODE DESCRIPTION OF OFFENSE CHARGED COUNT(S)
Set 1 21:846-CD.F 21 USC § 846 Conspiracy to Possess With Intent to 1

Distribute a Controlled Substance

Set 2 21:846-CD.F 21 USC § 846 Attempt to Possess With Intent to 2
Distribute a Controlled Substance
(Aiding & Abetting)

Set 3

Set 4

Set 5

Date: 5|[n{a0n0 SIGNATURE OF AUSA: Chehab). Cai he: yor
Nanette Lor ba ER)
